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                                                         10/16/20 Page 1 of 2
)ULHG)UDQN+DUULV6KULYHU -DFREVRQ//3

2QH1HZ<RUN3OD]D
1HZ<RUN1HZ<RUN
7HO 
)D[
ZZZIULHGIUDQNFRP
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                                                                                            (PDLOVWHYHQZLW]HO#IULHGIUDQNFRP


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+RQRUDEOH:LOOLDP+3DXOH\,,,
'DQLHO3DWULFN0R\QLKDQ
8QLWHG6WDWHV&RXUWKRXVH
3HDUO6W
1HZ<RUN1<
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       5H 8QLWHG6WDWHVY9LFWRU(VFDODQWH&5 :+3 

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'HDU-XGJH3DXOH\

        ,UHSUHVHQW9LFWRU(VFDODQWHLQWKHDERYHFDSWLRQHGPDWWHU0U(VFDODQWH¶VVHQWHQFLQJ
KHDULQJLVFXUUHQWO\VFKHGXOHGIRU1RYHPEHUDIWHUKDYLQJEHHQSUHYLRXVO\UHVFKHGXOHG
E\WKLV&RXUWIURPLWVRULJLQDOGDWHRI6HSWHPEHUGXHWR&29,'DQGWKH
FRUUHVSRQGLQJUHVWULFWLRQVRQLQWHUVWDWHWUDYHO$OWKRXJKKHUHPDLQVDWKRPHLQ(O3DVR7H[DV
0U(VFDODQWHLVVWLOOYHU\PXFKORRNLQJIRUZDUGWRWKHRSSRUWXQLW\WRDSSHDUEHIRUHWKH&RXUW
DQGDGGUHVV<RXU+RQRULQSHUVRQDWKLVVHQWHQFLQJ+RZHYHUGXHWRWKHRQJRLQJ&29,'
SDQGHPLFWUDYHOLQJDFURVVWKHFRXQWU\UHPDLQVLQFUHGLEO\GLIILFXOW

        8QGHU*RYHUQRU&XRPR¶V([HFXWLYH2UGHUZKLFKLVVWLOOHIIHFWLYHWUDYHOHUVHQWHULQJ
1HZ<RUNIURPVWDWHVH[SHULHQFLQJDVLJQLILFDQWGHJUHHRIFRPPXQLW\ZLGHVSUHDGRI&29,'
DUHUHTXLUHGWRTXDUDQWLQHWKHPVHOYHVIRUDSHULRGRIGD\V$VZDVWKHFDVHZKHQ0U
(VFDODQWH¶VVHQWHQFLQJKHDULQJZDVSUHYLRXVO\UHVFKHGXOHG7H[DVLVRQHRIWKHVWDWHVVR
GHVLJQDWHGDQG0U(VFDODQWHZRXOGEHVXEMHFWWRDWZRZHHNTXDUDQWLQHLIKHZHUHWRWUDYHOWR
1HZ<RUN7UDYHOLQJDWWKLVWLPHWZRZHHNVLQDGYDQFHRIWKHKHDULQJDQGFRPSO\LQJZLWKWKH
TXDUDQWLQHSURFHGXUHV SUHVXPDEO\DWDKRWHO FDQRQO\EHDFFRPSOLVKHGE\LQFXUULQJH[FHVVLYH
LQFRQYHQLHQFHDQGFRVW8QIRUWXQDWHO\0U(VFDODQWHLVQRWLQDSRVLWLRQWRSD\IRUWZRZHHNVLQ
DKRWHOLQ1HZ<RUN




1HZ<RUN:DVKLQJWRQ/RQGRQ)UDQNIXUW
)ULHG)UDQN+DUULV6KULYHU -DFREVRQ//3LVD'HODZDUH/LPLWHG/LDELOLW\3DUWQHUVKLS
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                                                       10/16/20 Page 2 of 2
)ULHG)UDQN+DUULV6KULYHU -DFREVRQ//3

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                                                                                 2FWREHU
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        $IWHUGLVFXVVLQJWKLVVLWXDWLRQZLWK0U(VFDODQWHDQGWKHSRWHQWLDORSWLRQRIDUHPRWH
VHQWHQFLQJLWUHPDLQVKLVVWURQJUHTXHVWWRDWWHQGKLVVHQWHQFLQJLQSHUVRQ,QOLJKWRIWKLVZH
UHVSHFWIXOO\UHTXHVWWKDWWKHGDWHRIWKHKHDULQJEHDGMRXUQHGIRUVL[W\  GD\VWRKRSHIXOO\
DOORZIRUWUDYHODQGTXDUDQWLQHFRQGLWLRQVWRLPSURYH

       7RGD\,VSRNHWR$VVLVWDQW8QLWHG6WDWHV$WWRUQH\'DQLHO1HVVLPDERXWDGMRXUQLQJWKH
VHQWHQFLQJKHDULQJDQGKHFRQILUPHGWKDWWKHJRYHUQPHQWFRQVHQWVWRWKHDSSOLFDWLRQ

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                                                                  6WHYHQ0:LW]HO

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                                                Application granted. Sentencing adjourned to January 14, 2021
                                                at 2:00 p.m.




                                                            October 16, 2020




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